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11   BENEFIT COSMETICS LLC
12
                                 UNITED STATES DISTRICT COURT
13
                                NORTHERN DISTRICT OF CALIFORNIA
14
15    BENEFIT COSMETICS LLC,                   Case No.: 3:23-cv-00861-RS
16                 Plaintiff,                  PLAINTIFF BENEFIT COSMETICS LLC’S
                                               OPPOSITION TO DEFENDANT
17           v.                                E.L.F. COSMETICS, INC.’S MOTION TO
                                               MODIFY THE CASE MANAGEMENT
18    E.L.F. COSMETICS, INC.                   SCHEDULING ORDER

19                 Defendant.                  Trial Date: August 26, 2024
                                               Courtroom: 3
20                                             Judge:      Hon. Richard Seeborg

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 1       I. INTRODUCTION
 2            Plaintiff Benefit Cosmetics LLC (“Benefit” or “Plaintiff”) is a global cosmetics brand, and
 3   one of its flagship products is its ROLLER LASH-branded curling mascara (the “Roller Lash
 4   Mascara”). The Roller Lash Mascara features a distinctive trade dress consisting of a pink cap,
 5   black base, and lettering on the base matching the color of the cap. In 2022, Defendant e.l.f.
 6   Cosmetics, Inc. (“e.l.f.” or “Defendant”) launched a copycat curling mascara product branded
 7   LASH ‘N ROLL (the “Lash ‘N Roll Mascara”), which also features a pink cap, black base, and
 8   lettering on the base matching the color of the cap, in addition to a confusingly similar name.
 9            The evidence adduced in this litigation establishes, unequivocally, that e.l.f. adopted both
10   the LASH ‘N ROLL trademark and the pink and black trade dress in an intentional effort to trade
11   off the substantial goodwill associated with the Roller Lash Mascara. Defendant attempts to defend
12   its conduct by relying on the alleged existence of third-party products that contain pink and/or
13   black packaging (“Alleged Third-Party Use” or “Third-Party Products”), but the record evidence
14   shows that each Alleged Third-Party Use is de minimis at best, and thus of minimal probative
15   value. Indeed, Benefit’s 30(b)(6) witness, whose job responsibilities include being knowledgeable
16   about mascara products in the industry, has never heard of any of the Third-Party Products, and
17   e.l.f. had to resort to purchasing many of them on eBay instead of from an actual retailer.
18            In a last-ditch effort to fill this substantial evidentiary hole, e.l.f. now seeks to extend the
19   discovery period so it can take 151 third-party depositions regarding certain Third-Party Products.
20   E.l.f.’s belated attempt to take these depositions is entirely lacking in good cause. Indeed, e.l.f.’s
21   motion does not even attempt to explain why e.l.f. could not have taken these depositions earlier in
22   the case, nor does it identify any new information that suddenly created a need for these
23   depositions at this late stage. And e.l.f. had more than enough time to take the depositions during
24   the discovery period, which opened roughly seven months ago and has already been extended once
25   – for 45 days – at e.l.f.’s request.
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       E.l.f. neglected to explain in its motion that it was seeking 15 depositions, which exceeds the limit in the Federal
28   Rules and the Court’s Scheduling Order, and will thus require separate leave of Court to take.

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 1           Simply put, the issue of third-party use has been relevant since the beginning of the case,
 2   yet e.l.f. waited until just weeks before close of discovery to seek the 15 third-party use depositions
 3   that are the subject of this motion. Any prejudice to e.l.f. is entirely of its own making, and on that
 4   basis, e.l.f.’s motion should be denied.
 5       II. STATEMENT OF RELEVANT FACTS
 6           From the outset of this case, both parties have understood that third-party use was a
 7   potentially relevant issue. For example, on May 30, 2023, Benefit’s First Set of Requests for
 8   Production of Documents requested documents related to any alleged third-party use of the Roller
 9   Lash Trade Dress, which Defendant agreed to produce. See Seth Herring Declaration (“Herring
10   Decl.”) ¶ 2. Likewise, Defendant’s June 15 Requests for Production of Documents requested that
11   Benefit produce documents concerning any third-party use of the Roller Lash Trade Dress, which
12   Benefit also agreed to produce. See Herring Decl. ¶ 3. On July 28, Defendant made its first
13   document production, which included images of various third-party products containing pink and
14   black. See Herring Decl. ¶ 4. Meanwhile, on September 20, Defendant filed a motion to extend the
15   discovery deadline by 45 days due to its counsel’s involvement in another case with trial dates that
16   overlapped with the discovery period in this case. See Herring Decl. ¶ 5. Counsel’s other case did
17   not go to trial. See id.
18           In Defendant’s September 28 Settlement Conference Statement, e.l.f. again discussed the
19   Alleged Third-Party Use of the Roller Lash Trade Dress, and even provided images of the Third-
20   Party Products. See Herring Decl. ¶ 6. On October 12, Benefit served an additional set of requests
21   for production that sought further detail into the Third-Party Products shown in e.l.f.’s Settlement
22   Conference Statement. See Herring Decl. ¶ 7. In response, Defendant produced additional images
23   of Third-Party Products and related documents on November 14. See Herring Decl. ¶ 8. On
24   November 15, e.l.f.’s 30(b)(6) witness regarding third party use testified regarding certain Third-
25   Party Products. See Herring Decl. ¶ 9. A month later, on December 15, Defendant served Plaintiff
26   with notice of 15 third-party subpoenas seeking testimony from the purported manufacturers of
27   certain Third-Party Products. See Herring Decl. ¶ 10. On December 21, Defendant took the
28   deposition of Benefit’s 30(b)(6) witness regarding third-party use. See Herring Decl. ¶ 11. As of
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 1   the filing of this Opposition, it is unclear whether a single one of the 15 subpoenas has been served,
 2   or a single deposition scheduled. See Herring Decl. ¶ 12.
 3       III. ARGUMENT
 4            Defendant’s Motion should be denied because Defendant failed to timely seek the subject
 5   discovery.
 6            Third-party use can be highly relevant to trademark and trade dress infringement disputes.
 7   In particular, the extent of third-party use is key. Indeed, courts in this District, as well as the Ninth
 8   Circuit, routinely hold that third-party use that is trivial, or for which the scope of such use has not
 9   been established, is unpersuasive. See, e.g., Rebelution, LLC v. Perez, 732 F. Supp. 2d 883, 891-93
10   (N.D. Cal. 2010) (“without evidence of the scope of use by third-parties, the degree to which
11   plaintiff’s mark was weakened by these users cannot be determined.”); Charles Schwab & Co. v.
12   Hibernia Bank, 665 F. Supp. 800, 806 (N.D. Cal 1987) (holding that over 40 alleged third-party
13   uses were unpersuasive because defendant failed to put forth any evidence “showing how extensive
14   the uses are and how long they have continued.”); see also Nat'l Lead Co. v. Dannenfelser, 223
15   F.2d 195, 203-205 (9th Cir. 1955) (holding that alleged third-party uses were unpersuasive because
16   such uses were discontinued, inconsequential, used in connection with unrelated goods and
17   services, or accused of infringing plaintiff’s mark). Defendant has known of this issue since at least
18   as early as May 2023, when Benefit requested documents related to third-party use.2 Defendant
19   requested the same from Benefit two weeks later, and the issue has arisen periodically throughout
20   the case in the context of the settlement conference and party depositions.                                  Defendant
21   acknowledges in its motion that this issue is “an important part of Defendant’s case” (Motion at 2).
22            Yet, without explanation, Defendant waited until there were four weeks left in the
23   discovery period to initiate the process of serving subpoenas on third parties who allegedly make
24   the Third-Party Products. Defendant could have sought these depositions when discovery opened
25   seven months ago in May 2023, but instead it waited until Court intervention was necessary.
26   Defendant even received an additional 45 days of fact discovery when its Unopposed Motion to
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       It is likely that Defendant’s counsel, experienced trademark litigators, understood that third-party use would be an
28   issue in this case since it was filed in February 2023.

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 1   Modify Case Management Scheduling Order (Dkt. 48) was granted. But instead of putting that
 2   extra time to good use and serving these subpoenas in a timely fashion, Defendant waited until just
 3   weeks before close of discovery to do so.
 4            Because Defendant’s own lack of diligence caused its inability to conduct these depositions
 5   before the discovery deadline, any prejudice to Defendant is of its own making. Indeed, courts in
 6   this District routinely deny motions to amend the case schedule based on the moving party’s lack
 7   of diligence. See, e.g., Liberty Mut. Ins. Co. v. Cal. Auto. Assigned Risk Plan, No. C 11-1419
 8   MMC, 2012 U.S. Dist. LEXIS 112379, 2012 WL 3277213, at *4 (N.D. Cal. Aug. 9, 2012)
 9   (denying untimely motion for leave to amend based on newly discovered facts where the moving
10   party failed to demonstrate that it was diligent in seeking discovery); ExperExchange, Inc. v.
11   Doculex, Inc., 2009 U.S. Dist. LEXIS 112411, *85-86 (N.D. Cal. Nov. 16, 2009) (denying motion
12   to file amended complaint after discovery deadline because plaintiff waited two months after
13   discovering its allegedly new facts to bring its motion to amend); see also Bailey v. Gatan, Inc.,
14   783 F. App’x 692, 694 (9th Cir. 2019) (affirming denial of motion to modify the scheduling order
15   due to lack of diligence in seeking discovery).
16            Defendant fails to even attempt to explain why it waited so long to seek this discovery that
17   leave of Court is required, and its vague reference to the deposition record does not come anywhere
18   close to justifying Defendant’s delay. Benefit’s 30(b)(6) testimony confirming that Benefit was
19   unaware of any of the Third-Party Products is not what gave rise to Defendant’s need to prove the
20   extent of third-party use – as discussed above, this was always necessary. This argument falls apart
21   for an additional, yet equally fatal, reason as well: Defendant indicated its intent to serve the 15
22   third-party use subpoenas nearly a week before taking Benefit’s 30(b)(6) deposition on third-party
23   use.3 E.l.f.’s reference to this deposition is simply a red herring.
24            Finally, Defendant argues that extending the deadline will not prejudice Benefit but will
25   instead help Benefit schedule a deposition of e.l.f.’s witness. However, the parties recently agreed
26   on a January 15 deposition date for that same e.l.f. witness, which is before the discovery cutoff
27   3
      Misleadingly, e.l.f. states in its Motion that the 30(b)(6) deposition of Benefit related to third-party use occurred on
     December 12, 14, and 21. This is patently false. Benefit designated a single witness on this topic, and that witness’s
28   deposition occurred on December 21.

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 1   date. Extending the discovery cutoff by 30 days will in fact prejudice Benefit: rather than use the
 2   time between fact discovery and expert disclosures to focus on experts, e.l.f.’s gambit would force
 3   Benefit to attend 15 third-party depositions that e.l.f. should have sought months ago.
 4      IV. CONCLUSION
 5          E.l.f. could have pursued these 15 third-party depositions from the outset of this litigation,
 6   yet it waited so long that a Court order was required to extend the discovery cutoff to accommodate
 7   this discovery. Thus, any prejudice to e.l.f. is a problem of its own making. Accordingly,
 8   Defendant’s Motion should be denied.
 9
10   DATED: January 2, 2024                             REED SMITH LLP

11
                                                  By:    /s/ Seth B. Herring
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                                                        Attorneys for Plaintiff
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